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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     NEW ALBANY DIVISION

   EMMANUEL BARNES,

                   Plaintiff,

                   v.                                   Case No. 4:20-cv-00087-TWP-DML

   GENERAL MOTORS LLC
   f/k/a GENERAL MOTORS CO.,

                   Defendant.

  DEFENDANT’S MOTION TO CONTINUE TRIAL, FINAL PRETRIAL CONFERENCE
                AND ASSOCIATED PRETRIAL DEADLINES

          Defendant General Motors LLC (“Defendant” or “GM”), by counsel, moves the Court to

  continue the trial, final pretrial conference and associated pretrial deadlines, because Defendant’s

  motion for summary judgment remains pending. If such motion for summary judgment is granted

  in full or in part, further action may be moot or, at least, the nature and content of the pretrial filings

  will change significantly enough that continuing the pretrial deadlines will be prudent. In support

  of this motion, Defendant states as follows:

          1.      On September 17, 2021, Defendant filed its motion for summary judgment. (Doc.

  41). Such motion was fully briefed as of November 5, 2021, and remains pending.

          2.      Trial is currently scheduled to commence on April 11, 2022. The final pretrial

  conference is currently scheduled for March 16, 2022 at 3:00 p.m., with related deadlines for

  pretrial filings on March 2, 9, and 11, 2022. (Doc. 31).

          3.      Under Section 2(a)(3) of the United States District Court for the Southern District

  of Indiana’s Civil Justice Expense and Delay Reduction Plan, if a summary judgment motion has

  not been resolved in a case scheduled for trial within 30 days – i.e., by March 11, 2022 – the “trial
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  should be rescheduled.” See also 28 U.S.C. § 471 et seq. It appears likely that rule would be

  triggered in this case, because April 11, 2022 is approximately two months away. The Civil Justice

  Expense and Delay Reduction Plan has been sunsetted, but the logic holds: the Court’s resources

  are better allocated when summary judgment decisions are made prior to trial deadlines.

         4.      If the Court grants Defendant’s motion for summary judgment in full or in part, the

  pretrial conference and pretrial filings will be moot or, at least, could be substantially different.

         5.      It would prejudice Defendant to have to complete trial preparation before the Court

  rules upon the motion for summary judgment, given the time and expense involved in preparing

  pretrial submissions and responding to opposing submissions.

         6.      For these reasons, Defendant respectfully moves to continue the trial, and to

  continue the final pretrial conference and other associated pretrial deadlines as well.

         7.      Counsel for Defendant has consulted with Defendant in accordance with Local Rule

  16-3(b) prior to making this request.

         8.      Counsel for Defendant also consulted with counsel for Plaintiff prior to filing this

  Motion. Counsel for Plaintiff advised he cannot agree to move the trial date. Defendant believes

  a trial continuance remains prudent and necessary for the reasons set forth above.

         WHEREFORE, Defendant, by counsel, respectfully requests that the Court continue the

  April 11, 2022 trial, and continue the final pretrial conference, as well as all related pretrial

  deadlines, to a corresponding date.




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                                              Date: February 9, 2022


                                                OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.

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                                                Attorneys for Defendant



                                 CERTIFICATE OF SERVICE

          The undersigned certifies that a copy of the foregoing has been served upon the following
  electronically via the Court’s ECF system to the following counsel on this 9th day of February,
  2022.

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